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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


Ryan, L.L.C.,
                      Plaintiff-Appellee,

Chamber of Commerce of the United States of                      No. 24-10951
America, et al.,
                 Intervenor-Plaintiffs-Appellees,

                 v.

Federal Trade Commission,
                 Defendant-Appellant.




       MOTION TO HOLD APPEAL IN ABEYANCE FOR 120 DAYS

      Pursuant to Federal Rule of Appellate Procedure 27, the government

respectfully moves to hold this appeal in abeyance for 120 days. Plaintiff and

intervenor-plaintiffs do not oppose this motion. In support of this motion, the

government states the following:

      1. 1. In May 2024, the Federal Trade Commission issued a rule that defines

most existing non-competes as unenforceable unfair methods of competition (subject

to an exception for certain senior executives) and bans the future use of most non-

competes. Non-Compete Clause Rule, 89 Fed. Reg. 38,342 (May 7, 2024). Plaintiff

and intervenor-plaintiffs challenged that rule, and the district court granted summary

judgment in their favor and vacated the rule universally. See ROA.5637. This appeal
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followed.

       2. Following a change in administration, on January 20, 2025, President Trump

designated Commissioner Andrew N. Ferguson as Chairman of the Commission.

Chairman Ferguson has recently stated publicly that he believes the Commission

should reconsider its defense of the challenged rule: “My view is that the Commission

. . . basically needs to decide whether it’s a good idea [and] it’s in the public interest to

continue defending this rule. . . . I’m going to be presenting at some point” to “my

colleagues the decision about whether to continue defending this Rule.” The Harvard

Salient, FTC Chairman Andrew Ferguson & Harvard Law Professor Adrian Vermueule:

CORE Conference 2025, at 35:17-:40, https://www.youtube.com/watch?v=ty3s-

zjLQFk.

       In light of the foregoing, the government respectfully moves to hold this

appeal in abeyance for 120 days. An abeyance will conserve party and judicial

resources and promote the efficient and orderly disposition of this appeal. The

government respectfully proposes that, at the end of a 120-day abeyance period, the




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government can provide the Court with a status report regarding future steps in the

case.

        3. Counsel for plaintiff and for intervenors-plaintiffs have informed the

government that plaintiff and intervenors-plaintiffs do not oppose this motion.

                                                  Respectfully submitted,

                                                  MICHAEL S. RAAB

                                                   /s/ Sean R. Janda
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March 2025




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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing complies with the type-volume limitation of

Fed. R. App. P. 27(d)(2) because it contains 311 words, according to the count of

Microsoft Word.


                                                 /s/ Sean R. Janda
                                                Sean R. Janda




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